Case 1:18-cv-00826-WCB          Document 393        Filed 04/01/22      Page 1 of 2 PageID #: 37648



                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

   IOENGINE, LLC

                  Plaintiff/Counterclaim
                  Defendant,

           v.                                        C.A. No. 18-452-WCB

   PAYPAL HOLDINGS, INC.,

              Defendant/Counterclaim
              Plaintiff.
   INGENICO INC.,

                  Plaintiff,

           v.                                        C.A. No. 18-826-WCB

   IOENGINE, LLC,                                    JURY TRIAL DEMANDED

                  Defendant.

   IOENGINE, LLC,

                  Counterclaim Plaintiff,

           v.

   INGENICO, INC., INGENICO CORP., and
   INGENICO GROUP S.A.,

                  Counterclaim Defendants.

  IOENGINE, LLC’S OBJECTIONS TO PAYPAL’S ADDITIONAL EXHIBITS LIST AND
       ADDITIONAL DEPOSITION DESIGNATIONS FOR THE APRIL 6, 2022
  EVIDENTIARY HEARING ON PAYPAL’S MOTION FOR SPOLIATION SANCTIONS

          IOENGINE, LLC (“IOENGINE”) hereby provides its objections to PayPal’s March 29,

   2022 lists of witnesses, additional exhibits, and additional deposition designations for the April

   6, 2022 evidentiary hearing on Defendant PayPal Holdings, Inc.’s (“PayPal’s”) Motion for

   Spoliation Sanctions.
Case 1:18-cv-00826-WCB         Document 393        Filed 04/01/22        Page 2 of 2 PageID #: 37649



          IOENGINE’S OBJECTIONS TO PAYPAL’S ADDITIONAL EXHIBITS

         PayPal’s Additional Exhibits                           IOENGINE’s Objections
   Ex. No 48: March 22, 2021 Chuebon                   Improper characterization;
   Production Correspondence and Production
   Metadata File                                       lack of a proper foundation
   Ex. No. 49: April 6, 2021 Chuebon                   Improper characterization;
   Production Correspondence and Production
   Metadata File                                       lack of a proper foundation


                 IOENGINE’S OBJECTIONS TO PAYPAL’S ADDITIONAL
                           DEPOSITION DESIGNATIONS


        PayPal’s Additional Deposition                          IOENGINE’s Objections
                 Designations
   Scott McNulty, Rule 30(b)(6) Deposition             IOENGINE objects to PayPal’s designation
   taken October 7, 2021, at 138:3-139:3, 143:4-       of testimony of Mr. Scott McNulty by
   144:15                                              deposition.    PayPal has designated Mr.
                                                       McNulty as a live witness for the April 6,
                                                       2022 evidentiary hearing before this Court,
                                                       and Mr. McNulty will appear as a live witness
                                                       on that date. PayPal’s parallel designation of
                                                       Mr. McNulty as a witness by deposition
                                                       testimony constitutes hearsay under Fed. R.
                                                       Evid. 802 and is an improper use of
                                                       impeachment pursuant to Fed. R. Evid. 801
                                                       and 802.


   Dated: April 1, 2022                                SMITH, KATZENSTEIN & JENKINS, LLP

   OF COUNSEL:                                         /s/ Eve H. Ormerod
                                                       Neal C. Belgam (No. 2721)
   Noah M. Leibowitz                                   Eve H. Ormerod (No. 5369)
   Gregory T. Chuebon                                  1000 West Street, Suite 1501
   DECHERT LLP                                         Wilmington, DE 19801
   1095 Avenue of the Americas                         (302) 652-8400
   New York, NY 10036                                  nbelgam@skjlaw.com
   (212) 698-3500                                      eormerod@skjlaw.com
   noah.leibowitz@dechert.com
   greg.chuebon@dechert.com                            Attorneys for IOENGINE, LLC




                                                   2
